Case 2:05-cv-O2040-.]DB-dkv Document 22 Filed 08/15/05 Page 1 of 2 Page|D 49

IN THE UNITED STATES DISTRICT COURT F"~EB BY mg D.C.
FoR THE WESTERN DISTRICT oF TENNESSEE
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POSAPAC, LLC, a Tennessee Lirnited
Liability company, and BARRY FIALA, 51555 55 5'_555*"`TOUUT
INC., a Tennessee Corporation, . 5555`555 ‘ 5' 555550558
Plaintiffs/Counter-Defendants,
v. No. 05-2040-B/V
WG&D, Inc., an Oregon Corporation,
formerly known as WESTERN GRAPHICS &
DATA, INC.,
Defendant/Counter-Plaintiff,
BD_ME__.IMY

The above action is hereby referred to the Honorable Diane K. Vescovo, U.S. Magistrate Judge,

for the purpose of conducting a settlement conference

ibt/eo

UJ DANIEL BREEN \
/NIT D STATES DISTRICT JUDGE

A"”Tv@b;l 1005

DATE v

IT IS SO ORDERED.

Thie document entered on the docket sheet compliance

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This notice confirms a copy cf the document docketed as number 22 in
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EssEE

 

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